                                         NO. 12-14-00268-CR

                               IN THE COURT OF APPEALS

                  TWELFTH COURT OF APPEALS DISTRICT

                                             TYLER, TEXAS

IN RE:                                                      §

CARL WADE CURRY,                                            §   ORIGINAL PROCEEDING

RELATOR                                                     §

                                         MEMORANDUM OPINION
                                             PER CURIAM
         Relator, Carl Wade Curry, has filed a petition for writ of mandamus requesting an order
directing the trial court to dismiss two misdemeanor complaints filed on March 25, 2010, and
June 14, 2010, respectively. He alleges that he has filed a motion to dismiss the complaints, but
the county attorney opposes the motion.1
         To be entitled to mandamus relief in a criminal case, a relator must establish that he has
no adequate remedy at law to redress his alleged harm, and what he seeks to compel is a
ministerial act, not involving a discretionary or judicial decision. State ex rel. Young v. Sixth
Judicial Dist. Court of Appeals at Texarkana, 236 S.W.3d 207, 210 (Tex. Crim. App. 2007)
(orig. proceeding). A defendant seeking to compel the dismissal of a misdemeanor has an
adequate remedy at law because he can file a pretrial application for habeas relief in a
misdemeanor prosecution. See TEX. CODE CRIM. PROC. ANN. art. 11.09 (West 2005). Therefore,
Relator cannot satisfy the first prerequisite to mandamus. Accordingly, we deny Relator’s
petition for writ of mandamus.
Opinion delivered November 5, 2014.
Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

                                              (DO NOT PUBLISH)

         1
         Relator did not file an appendix or a record with his petition. See TEX. R. APP. P. 52.3(k); 52.7(a).
Consequently, we do not have a copy of any documents pertaining to this proceeding.
                                  COURT OF APPEALS

     TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                         NOVEMBER 5, 2014


                                         NO. 12-14-00268-CR


                                     CARL WADE CURRY,
                                            Relator
                                              V.
                                   HON. RICHARD SANDERS,
                                          Respondent


                                       ORIGINAL PROCEEDING
                      ON THIS DAY came to be heard the petition for writ of mandamus filed
by CARL WADE CURRY, who is the relator in Cause No. 2010-0425CC, pending on the docket of
the County Court of Henderson County, Texas. Said petition for writ of mandamus having been
filed herein on September 11, 2014, and the same having been duly considered, because it is the
opinion of this Court that a writ of mandamus should not issue, it is therefore CONSIDERED,
ADJUDGED and ORDERED that the said petition for writ of mandamus be, and the same is,
hereby DENIED.
                   By per curiam opinion.
                   Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.
